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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


MINOR S.L.                              )
                                        )
       Plaintiff,                       )
                                        )
By next friend,                         )
                                        )
RON LENDERMAN                           )
                                        )
v.                                      )       Case No. 4:10-cv-02163 CEJ
                                        )
ST. LOUIS METROPOLITAN POLICE           )       JURY TRIAL DEMANDED
DEPARTMENT BOARD OF POLICE              )
COMMISSIONERS:                          )
                                        )
BETTYE BATTLE-TURNER, President         )
RICHARD GRAY, Vice President            )
MICHAEL L. GERDINE, Treasurer           )
HON. FRANCIS G. SLAY, Ex-Officio Member )
                                        )
COL. DANIEL ISOM, Chief of Police       )
                                        )
COL. ANTOINETTE FILLA, DSN 0032         )
                                        )
COL. REGGIE HARRIS, DSN 1526            )
                                        )
LT. HENRIETTA ARNOLD, DSN 3492          )
                                        )
SGT. LATHAN ISSHAWN-O’QUINN, DSN 4211 )
                                        )
OFFICER SUSIE LORTHRIDGE, DSN 8796      )
                                        )
SERVE AT:                               )
5305 Delmar, Apt. 301                   )
St. Louis, MO 63112                     )
                                        )
       Defendants.                      )
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                                COMPLAINT FOR DAMAGES

       COMES NOW Minor S.L. (“Plaintiff”), and for Plaintiff’s cause of action against the

Defendants in this matter, states and informs the Court:


Introduction

       1.       This is a Complaint for damages arising out of incidents that occurred in St. Louis

County, Missouri and the City of St. Louis, Missouri between and including July 3, 2010 and

September 7, 2010, in which Plaintiff was arrested, booked, searched, and jailed without cause;

and was pressured to provide false information to the Internal Affairs Division of the St. Louis

Metropolitan Police Department; and was beaten severely after refusing to provide false

information to the Internal Affairs Division of the St. Louis Metropolitan Police Department.

The unlawful arrest, search, seizure, and detention of Plaintiff, the pressure to provide false

information, and the beating suffered by Plaintiff thus deprived Plaintiff of Plaintiff’s rights

under the Fourth and Fourteenth Amendments to the United States Constitution, as well as under

Missouri law.


Jurisdiction, Venue and Cause of Action

       2.       This Court has jurisdiction under 28 U.S.C. 1331, 28 U.S.C. 1343(a)(1), 28

U.S.C. 1343(a)(2), and 28 U.S.C. 1343(a)(3).         This Court has supplemental jurisdiction of

Plaintiff’s claims under Missouri law based on 28 U.S.C. 1367 inasmuch as the state law claims

are so related to the federal claims that they form part of the same case and controversy under

Article III of the United States Constitution.

       3.       This action is brought pursuant to 42 U.S.C. 1983 to redress the deprivation,

under color of state law, of rights secured by the United States Constitution.




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          4.   The relevant acts occurred in St. Louis County, Missouri, and the City of St.

Louis, Missouri, therefore under 28 U.S.C. 1391(b)(2), venue is proper in this Court.


Parties

          5.   Plaintiff, a minor at the time of the incidents alleged herein, is and was a citizen of

the United States and the State of Missouri during the relevant time.

          6.   Plaintiff was arrested on July 3, 2010, in St. Louis County, Missouri, without

cause; was booked, jailed, and searched on multiple occasions in the City of St. Louis, Missouri

on July 3, 2010; was subsequently pressured to provide false information to the Internal Affairs

Division of the St. Louis Metropolitan Police Department; and, after refusing to provide false

information to the Internal Affairs Division, was beaten by the son of Defendant Arnold in St.

Louis County, Missouri on September 7, 2010.

          7.   Defendants Bettye Battle-Turner, Richard Gray, Michael L. Gerdine, and the

Honorable Francis G. Slay were members of the St. Louis Metropolitan Police Department

Board of Police Commissioners at all times relevant to this action. Defendants Battle-Turner,

Gray, Gerdine, and Slay are citizens of the United States and of the State of Missouri.

Defendants Battle-Turner, Gray, Gerdine, and Slay are residents of St. Louis, Missouri, in the

Eastern District of Missouri. Defendants Battle-Turner, Gray, Gerdine, and Slay were, at times

relevant to this action, members of the local governmental body charged by the State of Missouri

with administering and overseeing the St. Louis Metropolitan Police Department, including the

supervising, disciplining, and dismissing of individual police officers. Said defendants at all

times referred to herein acted under color of law.




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       8.       Defendants Battle-Turner, Gray, Gerdine, and Slay are sued in their official

capacities as members of the St. Louis Metropolitan Police Department Board of Police

Commissioners.

       9.       Defendant Daniel Isom is the Chief of Police of the City of St. Louis. Defendant

Isom is a citizen of the United States and of the State of Missouri. Defendant Isom is a resident

of St. Louis, Missouri, in the Eastern District of Missouri. Defendant Isom was, at all times

relevant to this action, the highest ranking police officer in the City of St. Louis, charged with

administering the police force, including the supervising, disciplining, and dismissing of

individual police officers, as well as deciding which tasks police officers should perform.

       10.      Defendant Isom is sued in his official capacity as the Chief of Police of the City

of St. Louis.

       11.      Defendant Antoinette Filla is a colonel for the St. Louis Metropolitan Police

Department. Defendant Filla is a citizen of the United States and of the State of Missouri.

Defendant Filla is a resident of St. Louis, Missouri, in the Eastern District of Missouri.

Defendant Filla was, at all times relevant to this action, responsible for overseeing all uniformed

personnel within the St. Louis Metropolitan Police Department, including the supervising,

disciplining and dismissing of individual police officers, as well as deciding which tasks police

officers should perform.

       12.      Defendant Filla was, at all times relevant to this action, an employee of the St.

Louis Metropolitan Police Department, acting in such capacity as an agent and servant of the St.

Louis Metropolitan Police Department, acting under the control of the St. Louis Metropolitan

Police Department Board of Police Commissioners and Chief of Police, and acting pursuant to

official policy, custom, and/or practice of the St. Louis Metropolitan Police Department.




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       13.     Defendant Filla is sued in her official capacity as a colonel for the St. Louis

Metropolitan Police Department.

       14.     Defendant Reggie Harris is a colonel for the St. Louis Metropolitan Police

Department. Defendant Harris is a citizen of the United States and of the State of Missouri.

Defendant Harris is a resident of St. Louis, Missouri, in the Eastern District of Missouri.

Defendant Harris was, at all times relevant to this action, responsible for overseeing the Internal

Affairs Division, including the disciplining and dismissing of individual police officers.

       15.     Defendant Harris was, at all times relevant to this action, an employee of the St.

Louis Metropolitan Police Department, acting in such capacity as an agent and servant of the St.

Louis Metropolitan Police Department, acting under the control of the St. Louis Metropolitan

Police Department Board of Police Commissioners and Chief of Police, and acting pursuant to

official policy, custom, and/or practice of the St. Louis Metropolitan Police Department.

       16.     Defendant Harris is sued in his official capacity as a colonel for the St. Louis

Metropolitan Police Department, and also in his individual capacity.

       17.     Defendant Henrietta Arnold is a lieutenant for the St. Louis Metropolitan Police

Department. Defendant Arnold is a citizen of the United States and of the State of Missouri.

Defendant Arnold is a resident of St. Louis County, Missouri, in the Eastern District of Missouri.

Defendant Arnold was, at all times relevant to this action, a lieutenant for the St. Louis

Metropolitan Police Department.

       18.     Defendant Arnold was, at all times relevant to this action, an employee of the St.

Louis Metropolitan Police Department, acting in such capacity as an agent and servant of the St.

Louis Metropolitan Police Department, acting under color of law and acting under the control of

the St. Louis Metropolitan Police Department Board of Police Commissioners and Chief of




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Police, and acting pursuant to official policy, custom, and/or practice of the St. Louis

Metropolitan Police Department.

       19.     Defendant Arnold is sued in her official capacity as a lieutenant for the St. Louis

Metropolitan Police Department, and also in her individual capacity.

       20.     Defendant Lathan Isshawn-O’Quinn is a sergeant for the St. Louis Metropolitan

Police Department. Defendant Isshawn-O’Quinn is a citizen of the United States and of the State

of Missouri. Defendant Isshawn-O’Quinn is a resident of St. Louis County, Missouri, in the

Eastern District of Missouri. Defendant Isshawn-O’Quinn was, at all times relevant to this

action, a sergeant for the St. Louis Metropolitan Police Department.

       21.     Defendant Isshawn-O’Quinn was, at all times relevant to this action, an employee

of the St. Louis Metropolitan Police Department, acting in such capacity as an agent and servant

of the St. Louis Metropolitan Police Department, acting under color of law and acting under the

control of the St. Louis Metropolitan Police Department Board of Police Commissioners and

Chief of Police, and acting pursuant to official policy, custom, and/or practice of the St. Louis

Metropolitan Police Department.

       22.     Defendant Isshawn-O’Quinn is sued in his official capacity as a sergeant for the

St. Louis Metropolitan Police Department, and also in his individual capacity.

       23.     Defendant Susie Lorthridge is a police officer for the St. Louis Metropolitan

Police Department. Defendant Lorthridge is a citizen of the United States and of the State of

Missouri. Defendant Lorthridge is a resident of St. Louis County, Missouri, within the Eastern

District of Missouri. Defendant Lorthridge was, at all times relevant to this action, a police

officer for the St. Louis Metropolitan Police Department.




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       24.     Defendant Lorthridge was, at all times relevant to this action, an employee of the

St. Louis Metropolitan Police Department, acting in such capacity as an agent and servant of the

St. Louis Metropolitan Police Department, acting under color of law and acting under the control

of the St. Louis Metropolitan Police Department Board of Police Commissioners and Chief of

Police, and acting pursuant to official policy, custom, and/or practice of the St. Louis

Metropolitan Police Department.

       25.     Defendant Lorthridge is sued in her official capacity as a police officer for the St.

Louis Metropolitan Police Department, and also in her individual capacity.


                               FACTS AND APPLICABLE LAW

       26.     At relevant times, the Defendants acted willfully, maliciously, and with deliberate

indifference to deprive Plaintiff of Plaintiff’s liberty and constitutionally safeguarded civil rights.

       27.     Defendants St. Louis Metropolitan Police Department Board of Police

Commissioners, Isom, Filla, and Harris’s failure to provide sufficient supervision and discipline

of its police officers, specifically said officers’ use of pre-textual arrests, unlawful searches and

seizures, detentions, false reporting, and pressure to provide false information, is

unconstitutional, and their deliberate indifference to, and willful tolerance of, such practices and

customs represents deliberate indifference to the rights of persons with whom the City of St.

Louis’ officers come into contact.       Specifically, Defendants St. Louis Metropolitan Police

Department Board of Police Commissioners, Isom, Filla, and Harris’s failure to timely supervise

and discipline Defendants Arnold, Isshawn-O’Quinn, and Lorthridge both before and after the

false and unlawful arrest of Plaintiff on July 3, 2010 represents deliberate indifference to the

rights of Plaintiff. In addition, Defendant St. Louis Metropolitan Police Department Board of

Police Commissioners delegated its policymaking authority, in whole or in part, to Defendants



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Isom and Defendant Harris, each acting under color of state law.              Defendants St. Louis

Metropolitan Police Department Board of Police Commissioners, Isom, Filla, and Harris are

therefore liable for the unconstitutional actions of Defendants Arnold, Isshawn-O’Quinn, and

Lorthridge by failing to properly supervise and discipline, and by deliberate indifference and

willful blindness to the unlawful customs above-described, and by improperly delegating its

authority to Defendant Isom and Defendant Harris. If Defendants St. Louis Metropolitan Police

Department Board of Police Commissioners, Isom, Filla, and Harris had provided proper

supervision and discipline to Defendants Arnold, Isshawn-O’Quinn, and Lorthridge, or

prevented the longstanding customs above-described, or not improperly delegated its authority to

Defendant Isom and Defendant Harris, Plaintiff’s federal and state constitutional rights would

not have been violated.

       28.     The actions of the Defendants described herein violated the following rights of

Plaintiff: the right to be free of the use of excessive force by police officers, the right to be free

from unreasonable search and seizure, the right to be free from unreasonable arrest, the right to

due process of law, the right to property, and the right to be free of threats by police officers, all

of which are rights secured by the Fourth Amendment. The Defendants described herein also

violated Plaintiff’s rights to due process, property, equal protection under the law, and equal

justice, all of which are rights secured by the Fourteenth Amendment. All of these rights are also

secured by the Civil Rights Act, 42 U.S.C. 1983.

       29.     This action is brought under 42 U.S.C. 1983 to remedy deprivation of rights

secured by the Fourth and Fourteenth Amendments to the United States Constitution and under

Article I, sections 2, 10 and 15 of the Missouri Constitution which secure those same rights.




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       30.     Beginning on or about July 3, 2010 and continuing until on or about September 7,

2010, acting under color of state law, the Defendants deprived Plaintiff of rights, privileges, and

immunities secured by the Constitution and laws of the United States, and the Constitution and

laws of the State of Missouri, as follows:


Background

       31.     Riverway Development, LLC was a business located near the intersection of

Riverview Drive and Spring Garden Drive in the City of St. Louis before July 3, 2010, but was

not in operation as of July 3, 2010.

       32.     The residence of Defendant Arnold and her son, at which Plaintiff was arrested on

July 3, 2010, was located at 7XX Lookaway Court, Riverview, Missouri, which is located within

St. Louis County, Missouri.

       33.     Prior to the unlawful arrest on July 3, 2010, Defendant Arnold was involved in a

vehicle accident during normal working hours while shopping in St. Louis County, Missouri, and

improperly using a St. Louis Metropolitan Police Department vehicle.


Pre-Textual Arrest at 7XX Lookaway Court

       34.     On July 3, 2010, Defendants Arnold and Lorthridge, acting under color of state

law, deprived Plaintiff of rights, privileges, and immunities secured by the laws of the United

States as well as Missouri law, as more particularly described herein.

       35.     On July 3, 2010, Plaintiff was present at the residence located at 7XX Lookaway

Court as an invited guest of the son of Defendant Arnold.




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       36.     While Defendant Arnold’s son and Plaintiff were present at the residence located

at 7XX Lookaway Court on July 3, 2010, Defendants Arnold and Lorthridge arrived at the

residence, located in St. Louis County, Missouri, while on duty.

       37.     Defendants Arnold and Lorthridge placed Plaintiff under arrest for Trespassing on

Private Property, despite Plaintiff’s lawful presence at the residence.

       38.     Despite the fact that Plaintiff’s arrest occurred in St. Louis County, Missouri,

Plaintiff was transported to the North Patrol Division office of the St. Louis Metropolitan Police

Department for processing.

       39.     Plaintiff was handcuffed and transported in police custody by Defendant

Lorthridge and another officer from North Patrol Division to the St. Louis Justice Center, located

at 200 South Tucker Boulevard, St. Louis, Missouri, where Plaintiff was jailed and searched.

       40.     In an attempt to conceal their unlawful conduct, Defendants Arnold and

Lorthridge prepared, and Defendant Isshawn-O’Quinn approved, a false Incident Report. This

Incident Report included the following false assertions:

       (a)     The Incident Report described the Incident Location as “Riverview Dr / Spring

               Garden Dr St Louis City MO 63137.” In truth and fact, no event occurred at that

               location.

       (b)     The Incident Report listed the Incident Location Name as “Riverview

               Development.”      In truth and fact, Riverview Development, LLC was not in

               operation as of July 3, 2010;

       (c)     The Incident Report listed the Type of Incident (Offense) as “Trespassing on

               Private Property.” In truth and fact, Plaintiff was an invited guest, and the alleged




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           Incident Location—the intersection of Riverview Drive and Spring Garden

           Drive—is not private property;

     (d)   The Incident Report listed the victim as Riverway Development, LLC. In truth

           and fact, Riverway Development, LLC was not in operation as of July 3, 2010;

     (e)   The Incident Report listed as a witness Richard Delaney, with a home address and

           telephone number in Fulsom, California, as an employee of Riverway

           Development, LLC. In truth and fact, Richard Delaney was not employed by

           Riverway Development, LLC and was not in the State of Missouri on

           July 3, 2010;

     (f)   The Incident Report listed the Suspect/Offender’s telephone number with one

           incorrect digit, making subsequent contact of Plaintiff by other law enforcement

           officials more difficult;

     (g)   The Incident Report stated in the Charge Information section that the incident

           occurred in the City of St. Louis. In truth and fact, Plaintiff was arrested in

           St. Louis County, Missouri.

     (h)   The narrative portion of the Incident Report claimed that Defendant Lorthridge

           observed Plaintiff in “this location” (the intersection of Riverview Drive and

           Spring Garden Drive in the City of St. Louis) and that Plaintiff was “extremely

           unkept [sic], as she was not wearing shoes.” In truth and fact, Plaintiff was not

           located in the City of St. Louis, nor was she unkempt and shoeless;

     (i)   The narrative portion of the Incident Report stated that “No Trespassing” signs

           were posted visibly in and around the location. In truth and fact, such signs were

           not posted at this location;




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       (j)     The narrative portion of the Incident Report stated that Plaintiff told Defendant

               Lorthridge that Plaintiff had been told several times to stay off the property.

               In truth and fact, Plaintiff did not make this statement, as she had never been on

               the property of Riverway Development, LLC, and had never been told to stay off

               this property;

       (k)     The Incident Report omits the only non-law enforcement witness to the events

               described therein, the son of Defendant Arnold; and

       (l)     After unsuccessful attempts to have sergeant(s) in the Sixth District approve the

               Incident Report—where the July 3, 2010 arrest allegedly occurred—the Incident

               Report was approved by Defendant Isshawn-O’Quinn of the Eighth District,

               where he serves under Defendant Arnold’s command, which is contrary to normal

               police procedure. Defendant Isshawn-O’Quinn was aware of the false nature of

               the Incident Report.

       41.     The Incident Report provided City Court appearance information as Court

Number 3 with a date of September 1, 2010.

       42.     Following the arrest of Plaintiff on July 3, 2010, Defendant Lorthridge contacted

relatives of Plaintiff by telephone in St. Louis County, Missouri and left vulgar and intimidating

telephone messages.

       43.     Between approximately July 3, 2010 and August 12, 2010, Defendants Isom,

Filla, and Harris were made aware of the false arrest of Plaintiff yet failed to take appropriate

disciplinary actions in a timely manner against Defendants Arnold, Isshawn-O’Quinn, and

Lorthridge.




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       44.     In particular, Defendant Filla learned of the conduct of Defendants Arnold,

Isshawn-O’Quinn and Lorthridge and knowingly allowed the matter to be assigned the Internal

Affairs Division rather than immediately suspend these officers, as did Defendants Harris and

Isom. Defendants Isom, Filla, and Harris also failed to notify the St. Louis Metropolitan Police

Department Board of Police Commissioners of the false arrest, a failure that is consistent with

the insulating barrier created by the St. Louis Metropolitan Police Department Board of Police

Commissioners as it turns a “blind eye” towards matters under investigation by the Internal

Affairs Division.

       45.     On August 12, 2010, Plaintiff was interviewed by representatives of the Internal

Affairs Division of the St. Louis Metropolitan Police Department. Plaintiff provided accurate

information, including the fact that Plaintiff was arrested in St. Louis County, Missouri—not the

City of St. Louis—and that Plaintiff was an invited guest of the son of Defendant Arnold.

       46.     Subsequently, Plaintiff was warned on several occasions “change your story” to

attest to the veracity of the Incident Report, despite the fact that the Incident Report was false.

       47.     On September 7, 2010, as a result of Defendants’ misconduct and after refusing to

change the statement Plaintiff made to the Internal Affairs Division, Plaintiff was brutally

beaten. The physical injuries to Plaintiff resulting from this beating include, among other things,

a punctured lung, air around the heart, and multiple bruises, including bruises around the neck

due to choking, as well as severe emotional distress.

                                       COUNT I
    VIOLATION OF 42 U.S.C. 1983: UNREASONABLE SEARCH AND SEIZURE
 (Defendants Lt. Henrietta Arnold, Officer Susie Lorthridge, and Sgt. Isshawn-O’Quinn)

       48.     Plaintiff incorporates by reference the statements contained in Paragraphs 1

through 47 above and the statements contained in each of the Counts of this Complaint.




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       49.     Defendants Arnold, Lorthridge, and Isshawn-O’Quinn, each acting alone and

together in concert, subjected Plaintiff to an unlawful and unjustified search and seizure of

Plaintiff’s person in violation of the Fourth and Fourteenth Amendments to the United States

Constitution by the following acts:

       (a)     Placing Plaintiff under arrest without probable cause or reasonable suspicion of

               illegal conduct;

       (b)     Transporting Plaintiff in police custody to North Patrol Division;

       (c)     Transporting Plaintiff in police custody to the St. Louis Justice Center, located at

               200 South Tucker Boulevard, St. Louis, Missouri;

       (d)     Depositing Plaintiff in the St. Louis Justice Center, 200 South Tucker Boulevard,

               knowing full well the regular practice, policy, and procedure of the St. Louis

               Justice Center is to conduct thorough searches of inmates upon intake;

       (e)     Causing Plaintiff to be subjected to a search without warrant, probable cause,

               reasonable suspicion, or any other justification; and

       (f)     Creating and approving a false Incident Report that allowed the seizure to be

               perpetuated and go undetected;

       50.     The search and seizure suffered by Plaintiff was illegal and unreasonable, and

thus deprived Plaintiff’s civil right pursuant to 42 U.S.C. 1983 and the Fourth and Fourteenth

Amendments to the United States Constitution.

       51.     At the time of the events described in this Complaint, Defendants Arnold,

Lorthridge, and Isshawn-O’Quinn acted under color of state law.




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       52.     Defendants Arnold, Lorthridge, and Isshawn-O’Quinn’s acts were reprehensible

and were carried out willfully, wantonly, maliciously and with such reckless disregard for the

consequences as to demonstrate a conscious and deliberate indifference to the rights of Plaintiff.

       WHEREFORE Plaintiff prays for the Order of this Court awarding:

       (a)     Compensatory damages as will fairly and accurately compensate Plaintiff for

               Plaintiff’s damages;

       (b)     Punitive damages in an amount that will fairly punish the Defendants for their

               conduct and deter future similar conduct;

       (c)     Reasonable attorney’s fees and costs; and

       (d)     Such other relief as the Court may find just and proper.

                                       COUNT II
   VIOLATION OF 42 U.S.C. 1983: FAILURE TO TRAIN, INSTRUCT, SUPERVISE,
                            CONTROL, AND DISCIPLINE
  (Defendant St. Louis Metropolitan Police Department Board of Police Commissioners:
    Bettye Battle-Turner, President; Richard Gray, Vice President; Michael Gerdine,
                 Treasurer; and Hon. Francis Slay, Ex-Officio Member;)

       53.     Plaintiff incorporates by reference the statements contained in Paragraphs 1

through 52 above and the statements contained in each of the Counts of this Complaint.

       54.     Defendants Battle-Turner, Gray, Gerdine, and Slay failed to train, instruct,

supervise, control, and discipline Defendants Arnold, Isshawn-O’Quinn, and Lorthridge, in

violation of the Fourth and Fourteenth Amendments to the United States Constitution.

       55.     There exists within the St. Louis Metropolitan Police Department policies and

customs, practices, and usages that are so pervasive that they constitute the policy of the

department, policies and customs that caused the constitutional deprivations of Plaintiff as has

been more fully set forth herein.




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       56.     Some examples of such policies, customs, practices, and usages, by way of

inclusion but not limitation, are:

       (a)     To unlawfully arrest and detain citizens;

       (b)     To act individually and to conspire with others to prevent the truth about false
               arrests or other transgressions of other officers from being known by lying in
               official reports or otherwise approving such reports and failing to report such
               transgressions;

       (c)     To fail to adequately and properly receive citizen complaints of, thereafter
               investigate and thereafter discipline, re-train, or otherwise sanction and/or remedy
               the transgressions of the officers of the St. Louis Metropolitan Police Department.
               This failure is manifested by the failure of the Internal Affairs Division of the St.
               Louis Metropolitan Police Department to invite and welcome complaints of
               citizens against officers, to accurately categorize such complaints and record
               them, to fully investigate complaints and find potential violations of policy, the
               law, or the Constitution, and to thereafter discipline, re-train, or increase
               supervision of officers who are in violation;

       (d)     Failure to adopt and maintain an effective early warning system designed to
               identify repeatedly deviant officers and then act to address and correct the
               deviance;

       (e)     Failure to adopt independent investigation and review of citizen complaints;

       (f)     Failure to train officers as to their proper responsibility to act lawfully regardless
               of whether ordered to act unlawfully by a superior officer; and

       (g)     Failure to prohibit contact between subjects of Internal Affairs investigations from
               contacting the aggrieved parties and other witnesses.

       57.     Defendant St. Louis Metropolitan Police Department Board of Police

Commissioners, comprised of Defendants Battle-Turner, Gray, Gerdine, and Slay, is the lawfully

designated policymaking body for the St. Louis Metropolitan Police Department and has the

power and responsibility to prevent the existence of customs, policies, and practices that result in

the violation of citizens’ civil rights, including but not limited to unlawfully arresting and

detaining citizens and conspiring to hide the truth about such false arrests.




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        58.      Defendants Battle-Turner, Gray, Gerdine, and Slay have significantly delegated

their policymaking authority to personnel of the Internal Affairs Division, including but not

limited to Defendant Isom and Defendant Harris, insofar as Defendant Isom is responsible to

properly train the Saint Louis Metropolitan Police Department officers and Defendants Isom and

Harris are responsible for overseeing the Internal Affairs Division. As such, Defendants Battle-

Turner, Gray, Gerdine, and Slay have created and implemented a policy in which they have

effectively and almost completely turned over their duty to supervise, resulting in the insulating

barrier created by the St. Louis Metropolitan Police Department Board of Police Commissioners

as it turns a “blind eye” towards matters under investigation by the Internal Affairs Division, as

discussed by Hon. Judge E. Richard Webber in a Memorandum and Order issued on October 23,

2008, an insulating barrier that prevents numerous false arrests and other transgressions from

ever being reported to Defendants Battle-Turner, Gray, Gerdine, and Slay.              Specifically,

Defendant Isom and Defendant Harris may determine punishment for the actions or inactions of

Saint Louis Metropolitan Police Department officers to be below a threshold amount, which

prevents these officers’ actions or inactions from ever being reported to Defendants Battle-

Turner, Gray, Gerdine, and Slay regardless of the underlying conduct of these officers.

        59.      In their delegation of policymaking authority and other actions and inactions,

Defendants Battle-Turner, Gray, Gerdine, and Slay intentionally disregarded known facts or

alternatively were deliberately indifferent to a risk of constitutional violation of which they knew

or should have known, and Defendants Battle-Turner, Gray, Gerdine, and Slay, along with

Defendants Isom and Harris, ratified the misconduct of Defendants Arnold, Lorthridge, and

O’Quinn as well as the customs, policies, and practices that proximately resulted in the violation

of Plaintiff’s civil rights.




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        60.     Defendants Battle-Turner, Gray, Gerdine, and Slay knew or were deliberately

indifferent to the practice and custom of unlawful arrests, false reporting, and conspiracies to

cover up such conduct but failed to act to prevent such conduct.

        61.     In their failure to prevent such conduct, Defendants Battle-Turner, Gray, Gerdine,

and Slay intentionally disregarded known facts or alternatively were deliberately indifferent to a

risk of the constitutional violation.

        62.     As a direct and proximate result of the policies, customs, practices, and usages of

St. Louis Metropolitan Police Department Board of Police Commissioners, Plaintiff suffered the

constitutional deprivations discussed herein.

        63.     Plaintiff is entitled to her attorneys’ fees and costs under 42 U.S.C. §1988.

        WHEREFORE Plaintiff prays for the Order of this Court awarding:

        (a)     Compensatory damages as will fairly and accurately compensate Plaintiff for

                Plaintiff’s damages;

        (b)     Punitive damages in an amount that will fairly punish the Defendants for their

                conduct and deter future similar conduct;

        (c)     Reasonable attorney’s fees and costs; and

        (d)     Such other relief as the Court may find just and proper.

                                       COUNT III
    VIOLATION OF 42 U.S.C. 1983: FAILURE TO SUPERVISE AND DISCIPLINE
  (Defendants St. Louis Metropolitan Police Department Board of Police Commissioners:
     Bettye Battle-Turner, President; Richard Gray, Vice President; Michael Gerdine,
   Treasurer; and Hon. Francis Slay, Ex-Officio Member; Police Chief Col. Daniel Isom;
                      Col. Antoinette Filla; and Col. Reggie Harris)

        64.     Plaintiff incorporates by reference the statements contained in Paragraphs 1

through 63 above and the statements contained in each of the Counts of this Complaint.




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       65.    Defendants Battle-Turner, Gray, Gerdine, Slay, Isom, Filla, and Harris failed to

supervise and timely discipline Defendants Arnold, Isshawn-O’Quinn, and Lorthridge, in

violation of the Fourth and Fourteenth Amendments to the United States Constitution:

       (a)    Plaintiff was interviewed by the Internal Affairs Division of the St. Louis

              Metropolitan Police Department on August 12, 2010;

       (b)    Between approximately July 3, 2010 and August 12, 2010, Defendants Isom,

              Filla, and Harris were made aware of the false arrest of Plaintiff yet failed to take

              appropriate disciplinary actions in a timely manner against Defendants Arnold,

              Isshawn-O’Quinn, and Lorthridge.

       (c)    Defendants Isom, Filla, and Harris also failed to notify the St. Louis Metropolitan

              Police Department Board of Police Commissioners of the false arrest, a failure

              that is consistent with the insulating barrier created by the St. Louis Metropolitan

              Police Department Board of Police Commissioners as it turns a “blind eye”

              towards matters under investigation by the Internal Affairs Division, as discussed

              by Hon. Judge E. Richard Webber in a Memorandum and Order issued on

              October 23, 2008, including but not limited to improper delegation of authority by

              the St. Louis Metropolitan Police Department Board of Police Commissioners to

              Defendants Isom, Filla, and Harris and all these defendants’ ratification of

              Defendants Arnold, Lorthridge, and Isshawn-O’Quinn’s actions, and these

              failures proximately caused damages to Plaintiff.

       (d)    No appropriate disciplinary actions were taken against Defendants Arnold,

              Isshawn-O’Quinn, and Lorthridge before September 7, 2010, the date Plaintiff

              was battered by the son of Defendant Arnold;




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       (e)     On several occasions between August 12, 2010 and September 7, 2010, the son of

               Defendant Arnold attempted to persuade Plaintiff to retract or change the

               statements made by Plaintiff to the Internal Affairs Division, demonstrating the

               son was aware of the statements made by Plaintiff to the Internal Affairs Division

               and was acting as an agent of Defendant Arnold, and the son attempted to

               persuade Plaintiff to provide the false testimony that Plaintiff was located in the

               City of St. Louis when arrested and not St. Louis County; and

       (f)     As a proximate result of this failure to supervise and discipline Defendants

               Arnold, Isshawn-O’Quinn, and Lorthridge, Plaintiff suffered a severe beating by

               Defendant Arnold’s son on September 7, 2010 that resulted in four days of

               hospitalization, a punctured lung, air around the heart, and multiple bruises, as

               well as severe emotional distress.

       66.     At the time of the events described in this Complaint, Defendants Battle-Turner,

Gray, Gerdine, Slay, Isom, Filla, and Harris acted under color of state law.

       67.     Regardless of actual or constructive notice to Defendants Battle-Turner, Gray,

Gerdine, Slay, Isom, Filla, and Harris, it is patently obvious that violation of such known and

established constitutionally protected rights may result when a subject of an Internal Affairs

investigation is allowed to contact and pressure a witness. The failure to properly institute

policies and procedures to prevent such witness tampering and to properly oversee the internal

affairs investigation proximately caused Plaintiff’s injuries, including a punctured lung, air

around the heart, and multiple bruises, as well as severe emotional distress.

       68.     Defendants Battle-Turner, Gray, Gerdine, Slay, Isom, Filla, and Harris’s acts were

reprehensible and were carried out willfully, wantonly, maliciously, and with such reckless




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disregard for the consequences as to demonstrate a conscious and deliberate indifference to the

rights of Plaintiff.

        69.     Plaintiff is entitled to her attorneys’ fees and costs under 42 U.S.C. §1988.

        WHEREFORE Plaintiff prays for the Order of this Court awarding:

        (a)     Compensatory damages as will fairly and accurately compensate Plaintiff for

                Plaintiff’s damages;

        (b)     Punitive damages in an amount that will fairly punish the Defendants for their

                conduct and deter future similar conduct;

        (c)     Reasonable attorney’s fees and costs; and

        (d)     Such other relief as the Court may find just and proper.

                                         COUNT IV
                       VIOLATION OF 42 U.S.C. 1983: CONSPIRACY
                  (Defendants Lt. Henrietta Arnold, Officer Susie Lorthridge,
                        Sgt. Isshawn-O’Quinn, and Col. Reggie Harris)

        70.     Plaintiff incorporates by reference the statements contained in Paragraphs 1

through 69 above and the statements contained in each of the Counts of this Complaint.

        71.     Defendants Arnold, Lorthridge, Isshawn-O’Quinn, and Harris, acting in their

individual capacities and under color of law, conspired together and with others, including the

son of Defendant Arnold, and reached a mutual understanding to undertake a course of conduct

that violated Plaintiff’s civil rights.   In furtherance of this conspiracy, Defendants Arnold,

Lorthridge, Isshawn-O’Quinn, and Harris committed the following overt acts:

        (a)     Defendants Arnold and Lorthridge unlawfully arrested or caused the arrest and
                detention of Plaintiff;

        (b)     Defendant Isshawn-O’Quinn approved a false report prepared by Defendant
                Lorthridge and otherwise failed to prevent the false arrest of Plaintiff, which
                amounts to authorization and approval of the unlawful arrest and detention;



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        (c)     Defendants Arnold, Lorthridge, and Isshawn-O’Quinn agreed to support the
                veracity of the Incident Report despite their knowledge of its falsity;

        (d)     Defendants Arnold, Lorthridge, and Isshawn-O’Quinn refused to report the
                unlawful arrest, false Incident Report, and other misconduct to the Internal Affairs
                Division or to other supervisory or command personnel within the St. Louis
                Metropolitan Police Department;

        (e)     In an attempt to protect Defendant Arnold, Defendant Harris improperly leaked
                information gathered during the Internal Affairs investigation, including
                statements made by Plaintiff;

        (f)     Defendant Arnold pressured Plaintiff to change her story in an effort to protect
                those involved in the conspiracy; and

        (g)     Defendant Arnold’s son beat Plaintiff, a beating so severe that it resulted in four
                days of hospitalization, a punctured lung, air around the heart, and multiple
                bruises, as well as severe emotional distress.

        72.     Defendants Arnold, Lorthridge, Isshawn-O’Quinn, and Harris shared the general

conspiratorial objective to violate Plaintiff’s civil rights by unlawfully seizing her person,

detaining her, and creating a false police report to cover up the unlawful arrest and detention.

        73.     As a direct and proximate result of the conspiracy between Defendants Arnold,

Lorthridge, Isshawn-O’Quinn and Harris, and others including the son of Defendant Arnold,

Plaintiff was deprived her rights under the Fourth and Fourteenth Amendments to the United

States Constitution.

        74.     Defendants Arnold, Lorthridge, Isshawn-O’Quinn, and Harris’ acts were

reprehensible and were carried out willfully, wantonly, maliciously and with such reckless

disregard for the consequences as to demonstrate a conscious and deliberate indifference to the

rights of Plaintiff.

        75.     Plaintiff is entitled to her attorneys’ fees and costs under 42 U.S.C. §1988.

        WHEREFORE Plaintiff prays for the Order of this Court awarding:




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        (a)     Compensatory damages as will fairly and accurately compensate Plaintiff for

                Plaintiff’s damages;

        (b)     Punitive damages in an amount that will fairly punish the Defendants for their

                conduct and deter future similar conduct;

        (c)     Reasonable attorney’s fees and costs; and

        (d)     Such other relief as the Court may find just and proper.

                                         COUNT V
                     STATE LAW CLAIM: FALSE IMPRISONMENT
               (Defendants Lt. Henrietta Arnold and Officer Susie Lorthridge)

        76.     Plaintiff incorporates by reference the statements contained in Paragraphs 1

through 75 above and the statements contained in each of the Counts of this Complaint.

        77.     Defendants Arnold and Lorthridge subjected Plaintiff to unlawful false

imprisonment by detaining Plaintiff against Plaintiff’s will and without legal justification.

        78.     The false imprisonment suffered by Plaintiff occurred during an illegal search and

seizure and was without legal justification.

        79.     Defendants Arnold and Lorthridge’s acts were carried out willfully, wantonly,

maliciously and with such reckless disregard for the consequences as to demonstrate a conscious

and deliberate indifference to the rights of Plaintiff.

        WHEREFORE Plaintiff prays for the Order of this Court awarding:

        (a)     Compensatory damages as will fairly and accurately compensate Plaintiff for

                Plaintiff’s damages;

        (b)     Punitive damages in an amount that will fairly punish the Defendants for their

                conduct and deter future similar conduct;

        (c)     Reasonable attorney’s fees and costs; and




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        (d)     Such other relief as the Court may find just and proper.

                                         COUNT VI
                            STATE LAW CLAIM: BATTERY
               (Defendants Lt. Henrietta Arnold and Officer Susie Lorthridge)

        80.     Plaintiff incorporates by reference the statements contained in Paragraphs 1

through 79 above and the statements contained in each of the Counts of this Complaint.

        81.     Defendants Arnold and Lorthridge subjected Plaintiff to an unlawful battery

pursuant to Missouri Law by the following acts:

        (a)     Placing Plaintiff under arrest without probable cause on July 3, 2010;

        (b)     Transporting Plaintiff in police custody to the St. Louis Justice Center and

                depositing Plaintiff with jail officials, knowing full well it was the policy,

                procedure, and practice of jail officials to conduct a thorough search of Plaintiff;

                and therefore

        (c)     Causing said unlawful search of Plaintiff on multiple occasions on July 3, 2010.

        82.     The battery suffered by Plaintiff occurred during an illegal search and seizure and

was not legally justified.

        83.     Defendants Arnold and Lorthridge’s acts were carried out willfully, wantonly,

maliciously and with such reckless disregard for the consequences as to demonstrate a conscious

and deliberate indifference to the rights of Plaintiff.

        WHEREFORE Plaintiff prays for the Order of this Court awarding:

        (a)     Compensatory damages as will fairly and accurately compensate Plaintiff for

                Plaintiff’s damages;

        (b)     Punitive damages in an amount that will fairly punish the Defendants for their

                conduct and deter future similar conduct;




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       (c)     Reasonable attorney’s fees and costs; and

       (d)     Such other relief as the Court may find just and proper.

                                        COUNT VII
                            STATE LAW CLAIM: BATTERY
               (Defendants Lt. Henrietta Arnold and Officer Susie Lorthridge)

       84.     Plaintiff incorporates by reference the statements contained in Paragraphs 1

through 83 above and the statements contained in each of the Counts of this Complaint.

       85.     Defendants Arnold and Lorthridge subjected Plaintiff to an unlawful battery

pursuant to Missouri Law by the following acts:

       (a)     Defendants Arnold and Lorthridge subjected Plaintiff to false arrest, false

               imprisonment, unlawful search and seizure, and battery on July 3, 2010;

       (b)     Plaintiff was interviewed by the Internal Affairs Division of the St. Louis

               Metropolitan Police Department on August 12, 2010; and

       (c)     During this interview, Plaintiff informed the St. Louis Metropolitan Police

               Department of the unlawful arrest, false imprisonment, unlawful search and

               seizure, and battery.

       86.     No disciplinary actions were taken against Defendants Arnold and Lorthridge

before September 7, 2010, the date Plaintiff was battered by the son of Defendant Arnold.

       87.     Sometime between August 12, 2010 and September 7, 2010, Defendants Arnold

and Lorthridge learned of Plaintiff’s true statements to the Internal Affairs Division.

       88.     Defendants Arnold and Lorthridge caused the son of Defendant Arnold to

pressure Plaintiff on several occasions to provide false statements to the Internal Affairs

Division.




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       89.     Defendants Arnold and Lorthridge caused Plaintiff to be battered on September 7,

2010, resulting in Plaintiff’s hospitalization and resulting injuries, including a punctured lung, air

around the heart, and multiple bruises, as well as severe emotional distress.

       WHEREFORE Plaintiff prays for the Order of this Court awarding:

       (a)     Compensatory damages as will fairly and accurately compensate Plaintiff for

               Plaintiff’s damages;

       (b)     Punitive damages in an amount that will fairly punish the Defendants for their

               conduct and deter future similar conduct;

       (c)     Reasonable attorney’s fees and costs; and

       (d)     Such other relief as the Court may find just and proper.

                                       FINDER OF FACT

       90.     Plaintiff demands a jury trial of all issues properly triable by jury.


                                                      Respectfully submitted,

                                                      JENSEN, BARTLETT & SCHELP, LLC

                                                      s/Matthew P. Diehr
                                                      JEFFREY B. JENSEN, #46745MO
                                                      MATTHEW. P. DIEHR, #61999MO
                                                      222 S. Central Ave, Suite 110
                                                      St. Louis, MO 63105
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                                                      314-725-5595 Facsimile
                                                      Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on April 18, 2011, the foregoing was filed electronically

with the Clerk of the Court to be served by operation of the Court’s electronic filing system upon

the following:

       Dana C. Ceresia
       Denise LeAnne Thomas
       Attorney General of Missouri
       815 Olive Street, Suite 200
       St. Louis, MO 63101
       Attorneys for Defendant Lathan Isshawn-O’Quinn

       Denise Garrison McElvein
       Dana W. Tucker
       Attorney General of Missouri
       P.O. Box 861
       St. Louis, MO 63188
       Attorneys for Defendants St. Louis Metropolitan Police Department, Antoinette Filla,
              Bettye Battle-Turner, Daniel Isom, Francis G. Slay, Michael L. Gerdine, Reggie
              Harris, and Richard Gray

       The undersigned certifies that on April 18, 2011, a true and correct copy of the foregoing

was sent via First Class U.S. Mail, postage prepaid, to:

Henrietta Arnold
721 Lookaway Court
St. Louis, MO 63137

       The undersigned certifies that on April 18, 2011, the foregoing was prepared for service

by process server pursuant to Rule 4 of the Federal Rules of Civil Procedure.

       Susie Lorthridge
       5305 Delmar, Apt. 301
       St. Louis, MO 63112

                                                     s/Matthew P. Diehr
                                                     MATTHEW P. DIEHR, #61999MO
                                                     Attorney for Plaintiff




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